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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

RICHARD EUGENE LEATHERWOOD
                                                                                     PLAINTIFF
 v.                                   Civil No. 4:20-cv-04061


NURSE STEPHEN KING; NURSE LONI
REDFERN; and NURSE CHELSEA                                                       DEFANDANTS

                                            ORDER

       Plaintiff Richard Eugene Leatherwood filed this 42 U.S.C. § 1983 on August 5, 2020.

(ECF No. 1). Before the Court is Plaintiff’s Motion for Subpoena. (ECF No. 18). Defendants

have not responded, and the Court has determined no response is necessary to rule on the motion.

       In his motion Plaintiff asks the Court to issue a subpoena for all the medical grievances he

filed in June and July of 2020 and “all medical records of mine that Miller County Detention

Center has. Including the test results of the cat scan from Health Care Express.” (ECF No. 18, p.

2). In addition, Plaintiff asks the Court to subpoena “a copy of cat scan results from Health Care

Express.” Id. at p. 3.

       Plaintiff previously submitted motions for subpoenas of these records (ECF Nos. 11, 14)

and the Court denied each motion. (ECF Nos. 12, 16). On September 22, 2020, the Court entered

an Initial Scheduling Order directing Defendants to provide Plaintiff “with a copy of all incident

reports documenting incidents referenced in the Plaintiff’s complaint, including…a copy of all

medical requests [and] grievances…” by November 6, 2020. (ECF No. 17, p. 1). These medical

records would presumably include the results of any cat scan tests. In addition, the Court has

previously informed Plaintiff he should attempt to obtain a copy of the cat scan test from Health

Care Express on his own before seeking assistance from the Court.



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    Accordingly, Plaintiff’s Motion for Subpoena (ECF No. 18) is DENIED.

    IT IS SO ORDERED THIS 2nd day of October 2020.


                                               /s/ Barry A. Bryant
                                               HON. BARRY A. BRYANT
                                               UNITED STATES MAGISTRATE JUDGE




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